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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


 DIGITAL MEDIA SOLUTIONS, LLC,         )         Case No. 1:19-cv-0145
                                       )
      Plaintiff,                       )         JUDGE DAN AARON POLSTER
                                       )
      v.                               )         MAGISTRATE JUDGE
                                       )         THOMAS M. PARKER
 SOUTH UNIVERSITY OF OHIO, LLC, et al. )
                                       )
      Defendants.                      )         MINUTES OF PROCEEDINGS
                                       )


Present were:

Plaintiff Digital Media                           Audrey K. Bentz (by telephone)
Intervenor Students                               Eleanor M.C. Hagan
                                                  Alexander S. Elson
                                                  Eric J. Rothschild
Intervenor Flagler                                James A. Newton
Intervenor Buncher Company                        Jared S. Roach
Intervenor Studio Enterprise Manager              Maria G. Carr
Intervenor Hemingway at Richmond                  Kirk W. Roessler
Intervenor Marina Awed                            Marina Awed, pro se (by telephone)
Intervenor HGF                                    Jeffrey C. Toole
Intervenor Thomas J. Perrelli, Settlement Adm.    Brian Hauck (by telephone)
Intervenor Dream Center South University          Ingrid A. Bohme (by telephone)
Interested Party/Movant: 3601 Sunflower           William J. Stavole
Students                                          Canon Thomas
                                                  Suzanna Smith (by telephone)
                                                  Michael Quinones (by telephone)
Receiver Mark E. Dottore                          present with counsel
                                                  James W. Ehrman
                                                  Mary K. Whitmer
Defendant South University of Ohio                Hugh D. Berkson
                                                  Robert T. Glickman
Defendant DCEH Education                          Charles A. Nemer
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